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Case 7
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Description . IMM! CTAOAKN
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Location Recovered 1900 block Carpenter Avenue, D. |
Recovered By Krystal Krie
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